I do not agree with the conclusion reached by the majority opinion. It may be granted that the boxes sought to be installed by the Power  Light Company are safer and more convenient than those now in use; but the latter, as I think the evidence amply shows, answer every reasonable purpose. In this view of the matter the taxing of the consumer at the added sum of from five to six dollars for each installation sought to be made by the company can be characterized by no other term than extortion. This is more palpable when it appears that only such boxes will be permitted to be installed as meet with the approval of the company's engineer. This simply spells monoply, whether the company derives any pecuniary benefit from the installation of the boxes required by its rules or not.
It is unfortunate in this age of industrial progress that the patent law, the ultimate purpose of which was to protect the inventor without imposition upon the consumer, *Page 339 
should be used by those who control the particular invention as an instrument of extortion. This is not infrequently the case where public utility companies enjoy the exclusive privilege of furnishing a force or a commodity which under our modern methods of living has become a necessity.
In this case there is no showing that the company is not reaping a fair profit from its privilege granted to it by the State, and its argument that it be permitted to impose this additional burden upon its patrons for what cannot be reasonably construed to be other than for its own convenience and profit does not appeal to either the dispassionate judgment or conscience of any one to whom it may be submitted.
Thoroughly convinced that the Public Service Commission and the circuit court ruled justly and righteously in this matter I unqualifiedly dissent against the reasoning and conclusion of the majority opinion.